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   OFFICE OF GENERAL COUNSEL
 1
   U.S. HOUSE OF REPRESENTATIVES
 2 5140 O’Neill House Office Building
   Washington, D.C. 20515
 3
     SHER TREMONTE LLP
 4 90 Broad Street, 23rd Floor
 5 New York, New York 10004
 6 ARNOLD & PORTER
     601 Massachusetts Ave, NW
 7 Washington, D.C. 20001
 8
 9 Counsel for the Congressional Defendants
10
11
                             UNITED STATES DISTRICT COURT

12                         CENTRAL DISTRICT OF CALIFORNIA
13                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                           Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,                   NOTICE
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21
             1.   Pursuant to this Court’s January 26, 2022 Order, Defendants Bennie G.
22
                  Thompson and the Select Committee to Investigate the January 6th Attack
23
                  on the United States Capitol (collectively, the “Select Committee”) hereby
24
                  submit their response to Plaintiff’s March 10 privilege log entries.
25
             2.   Simultaneously with this Notice, the Select Committee is filing under seal
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                  Plaintiff’s March 10 privilege log with a column indicating the Select
27
                  Committee’s objections to Plaintiff’s privilege claims.
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 1      3.    The Select Committee preserves its ability to argue in subsequent briefing
 2            on Plaintiff’s privilege claims that, as a general matter, none of the
 3            documents contained in the Chapman University production set can be
 4            withheld on the basis of attorney-client or work product privilege.
 5      4.    As reflected in the privilege log filed under seal simultaneously with this
 6            Notice, the Select Committee objects that Plaintiff has not provided
 7            sufficient information to determine the validity of Plaintiff’s privilege
 8            assertions. Without the requested information, the Select Committee cannot
 9            fully assess the validity of Plaintiff’s privilege claims.
10      5.    The Select Committee notes that although Plaintiff has provided revised
11            privilege logs for certain days containing further information regarding
12            certain entries, the additional information provided does not fully resolve the
13            noted deficiencies.
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 1                                       Respectfully submitted,

 2                                       /s/ Douglas N. Letter
 3                                       DOUGLAS N. LETTER
                                           General Counsel
 4                                       TODD B. TATELMAN
 5                                         Principal Deputy General Counsel
                                         ERIC R. COLUMBUS
 6                                         Special Litigation Counsel
 7                                       STACIE M. FAHSEL
                                           Associate General Counsel
 8
 9                                       OFFICE OF GENERAL COUNSEL
                                         U.S. HOUSE OF
10                                       REPRESENTATIVES
11                                       5140 O’Neill House Office Building
                                         Washington, D.C. 20515
12                                       (202) 225-9700
13                                       Douglas.Letter@mail.house.gov
14                                       -and-
15
                                         SHER TREMONTE LLP
16
                                         Justin M. Sher
17                                       Michael Tremonte
                                         Noam Biale
18
                                         Maya Brodziak
19                                       Kathryn E. Ghotbi
                                         90 Broad Street, 23rd Floor
20
                                         New York, New York 10004
21                                       (212) 202-2600
                                         JSher@shertremonte.com
22
                                         MTremonte@shertremonte.com
23                                       NBiale@shertremonte.com
                                         MBrodziak@shertremonte.com
24
                                         KGhotbi@shertremonte.com
25
                                         -and-
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 1
                                         ARNOLD & PORTER
 2                                       John A. Freedman
 3                                       Paul Fishman
                                         Amy Jeffress
 4                                       601 Massachusetts Ave, NW
 5                                       Washington, D.C. 20001
                                         (202) 942-5000
 6                                       John.Freedman@arnoldporter.com
 7                                       Paul.Fishman@arnoldporter.com
                                         Amy.Jeffress@arnoldporter.com
 8
 9                                       Counsel for Congressional Defendants
10
11
12 Dated: March 15, 2022
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 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:
 5       OFFICE OF GENERAL COUNSEL
         U.S. HOUSE OF REPRESENTATIVES
 6       5140 O’Neill House Office Building
 7
         Washington, D.C. 20515

 8       On March 15, 2022, I served the NOTICE on the interested parties in this action:
 9       Anthony T. Caso
10       Constitutional Counsel Group
         174 W Lincoln Ave #620
11       Anaheim, CA 92805-2901
12       atcaso@ccg1776.com
13
         Charles Burnham
14       Burnham & Gorokhov PLLC
         1424 K Street NW, Suite 500
15
         Washington, DC 20005
16       charles@burnhamgorokhov.com
17
         Attorneys for Plaintiff John C. Eastman
18
19      (BY E-MAIL OR ELECTRONIC TRANSMISSION)
          The document was served on the following via The United States District Court –
20        Central District’s CM/ECF electronic transfer system which generates a Notice
21
          of Electronic Filing upon the parties, the assigned judge, and any registered user
          in the case:
22
23       (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                   correct, and that I am employed at the office of a member of
24                 the bar of this Court at whose direction the service was made.
25
         Executed on March 15, 2022 here, at Bethesda, Maryland.
26
27                                                 /s/ Douglas N. Letter
28

                                  CERTIFICATE OF SERVICE
